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                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION                           MDL 2804
OPIATE LITIGATION
                                                       Case No. 17-md-2804
This document relates to:
                                                       Hon. Dan Aaron Polster
“TRACK 3 CASES”




  ORDER PERMITTING REMOTE LIVESTREAMING OF TRIAL TESTIMONY AND
                         PROCEEDINGS

       To ensure that the Parties and their counsel have safe access to the trial proceedings, this

Court will allow the remote live transmission of those proceedings via a secure livestream link.

The Court finds that this step is necessary to balance the Parties’ rights to access and participate

in the trial proceedings with the continued need to enforce safety protocols relating to the

COVID-19 public health emergency.

       In accordance with federal practice and procedure, the Court will strictly limit who can

access the livestream and how they can do so. Access to the livestream link will be limited to the

Track 3 Parties (Lake and Trumbull Counties and Track 3 Defendants), including their counsel

and support staff, and the Court will inform the jury that the access is so limited. No other

person shall have or be provided access.

       Recordings of any kind, including audio recordings, visual recordings and still

photographs of court proceedings are strictly prohibited. These rules are the same for in-person

and virtual proceedings. This Court cautions that individuals who are granted access to the

livestream of the trial proceedings in this matter are strictly prohibited from making any kind of
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